CaSe 19-15611-A.]C DOC 1 Filed 04/29/19

Flll in this information to identify your case:

 

Uniied States Bankruplcy Court for the:

Southern Disirict of Florida

Case number (/rknown): Chapter you are filing under:
Cheipiar7

l;l Chapter 11

C] Chapter 12

l;l chapier 13

 

 

Official Form 101

Voluntary Petition for lndividuals Filing for Bankruptcy

Page 1 of 58

El check if this is an
amended filing

12/15

 

The bankruptcy forms use you and Debtor1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
DebtorZ to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The

same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

m ldentify Yourse|f

 

1. Your full name

 

”`Jiii"jii F?<l`#?l=` °

 

 

 

 

identincation to your meeting
with the trustee
Sufi'ix (Sr., Jr., |l, |||)

Write the name that is on your ~
. ¥isel l

government-issued picture F, t F, f .
identification (forexample, "S name "5_"3'“9
your driver’s license or l ,
passport). Middle name Nl|dd|e name
Bring your picture Manso ' 5

Lasl name ` ’f j Last name

Sufrix (sr., Jr., iil iii)

 

2. Al| other names you

 

have used in the last 8

Flrsl name

 

 

 

 

 

 

First name
years
|nc|ude your married or Mlddle name Midd|e name
maiden names.
Last name Last name
Firsl name ` Firsl name
Middle name ' Midd|e name .
Lasi name Lasl name

 

3. Only the last 4 digits of
your Social Security
number or federal OR
individual Taxpayer
identification number
(lTlN)

xxx-xx- 1 8 5 6

9xx-)<x-

 

 

 

 

 

Officla| Form 101

Voluntary Petition for individuals Filing for Bankruptcy

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Debtor 1

Yise| l\/ianso

 

First Name

Midd|e Name

Last Name

Case number ('ir¢mowm

 

4. Any business names
and Emp|oyer
identification Numbers
(E|N) you have used iri
the last 8 years

include trade names and
doing business as names

;‘A@bmi»¢`beii=;

m | have not used any business names or EiNs.

 

 

" ' Aheif ?eb§fe'_¢_.<$iieee Q*iliihé,~.‘@inf¢ess),=' l l

L:\ l have not used any business names or Ele.

 

Eiusiness name

Business name

Business name

;; z Business name

_____________-_____

 

5. Where you live

12401 W. Okeechobee Road

Number Street

LOt 164

 

FL
Staie

33018
ziP code

Hiaieah Garderls
Ciiy

i\/liami-Dade
County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

 

 

 

 

 

' City

' `- if Debtorz lives aia different address

 

Number $treei

 

 

State Z|P Code

 

i Couniy

if Debtor 2’s mailing address is different from

1 yours, fill it in here. Note that the court will send

any notices to this mailing address.

 

 

 

 

 

 

 

Number Street Number Street

P.O, Box P.O. Box

City State ZlP Code :' City State ZlP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

E Over the last 180 days before h|ing this petition.
l have lived in this district longer than in any ~
other district

m | have another reason. Exp|ain.
(See 28 U.S.C.§ 1408.)

 

 

 

 

 

 

 

 

Cl Over the last 180 days before hling this petition,
l have lived in this district longer than in any
other district

3 Cl |have another reason. Exp|ain.

(see 23 u.s.c. § 1408.)

 

 

 

 

 

OfHCia| Form 101

Vo|untary Petition for individuals Fi|ing for Bankruptcy

page 2

 

Debtor 1

Case 19-15611-A.]C DOC 1 Filed 04/29/19 Page 3 of 58

Yise| Nlanso

First Name

Mlddle Neme

Case number (/rimetvni
LRS! Nal'l'ie

m Tell the Court About ¥our Bankruptcy case

7.

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each. see Notice Requi`red by 11 U.S.C. § 342(b) for /ndividuals Fillng
for Bankruptcy (Form 2010)). Aiso. go to the top of page 1 and check the appropriate box.

91 Chapter 7

|;l Chapter 11
Ei Chapter 12
El Chapter 13

 

How you will pay the fee

T l will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typlca|ly, if you are paying the fee
yourself, you may pay with cash cashier’ s checkl or money order if your attorney` is
submitting your payment on your behalf your attorney may pay with a credit card or check
with a pre-printed address.

Ei l need to pay the fee in installmentsl if you choose this option, sign and attach the
AppI/'catlon for individuals lo Pay The Fi//'ng Fee in installments (Olhcial Form 103A).

Cl l request that my fee be waived (Vou may request this option only if you are filing for Chapter 7.
By law, a judge may, butts not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Wai`ved (thcial Form 103B) and file it with your petition

 

 

 

 

 

 

 

 

 

 

 

 

9. Have you filed for q NO
bankruptcy within the , _ _
last 8 years? n Yes. District ' When Case number
Ml\lll DD / YYYY
Distnct When Case number
MM/ DD / YYYY
District When Case number
NlM/ DD/‘{Y¥Y
10. Are any bankruptcy m No
§ cases pending or being
filed by a Spouse who is n Yes. Debtor j 4 . Relatlonship lo you
not hung th's ca_se Wlth Dislrici When Case number. if known
you, or by a business MM / DD /wa
partner, or by an .
affiliate?
Dabtor Relationshlp to you
Dlstrict When Case number, if known
MM / DD / YYYY
11- D° _y°u rent Your \:.l No. Go to line 12.
res'dence? m Yes. Has your landlord obtained an eviction judgment against you and do you want to stay' in your
residence?

m No. Go to line 12.

n Yes Fill out initial Statement About an Eviction JudgmentAgainst You (Form 101A) and file it with
this bankruptcy petition

 

Ofliclal Form 101

Voluntary Petition for individuals Fiiing for Bankruptcy '_ page 3

 

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Debtor1 YiSe| Manso Case number mimon

F|rst Name M|dd|e Name Last Name

m Report About Any Businesses Yoi.l own as a So|e’Proprietor

 

12. Are you a sole proprietor w No_ 30 to part 4_
of any fu|l- or part-time
business? U Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

alegrporation, partnership, or Number Street‘

 

Name of businesa, ii any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach if

to this petition. C"y Siaie ziP Code

 

 

Check the appropriate box to describe your business:

m Heaith Care Business (as defined in 11 U S C § 101(27A))
n Single Asset Rea| Estate (as defined` i`ri 11 U. S C. § 101(515))
El stockbroker (as defined in 11 u s c. § 101(53A))

C\ Commodity Broker (as detined' in 11 U.S.C. § 101(6))

n None of the above

 

13. Are you filing under lf you are filing under Chapter11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheef, statement of operations, cash- flow statement and federal' income tax return or if

any ofthese documents do not exist. follow the procedure in 11 U. S. C. § 1116(1)(B)

are you a small business

debtor? ' W i\lo. | am not f ling underChapter11.

For a definition of small

bLISIn€SS deber. 566 Cl No. | am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U-S-C-§101(51D)- the Bankruptcy Code.

[J Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Pi'operty That Needs immediate Attention

 

14. Do you own or have any w NO
property that poses or is l ` ' '
alleged to pose a threat n ¥SS. Vvhat 15 the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is lt needed?

 

immediate attention?
For exampie, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the properly?

 

Number Street

 

 

Cify Siate ZlP Code

 

Ofl”icial Form 101 Vo|untary Petition for individuals Filirig for Bankruptcy page 4

 

Debtor 1

m Exp|ain Your Efforts to Receive a Briefing About Ci'edit counseling

 

 

15.

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Yise| l\/lanso

Flrst Name

Middle Name

Last Name

Case number iirknewni

 

Tel| the court whether
you have received a
briefing about credit
counsehng.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. lf you
cannot do so, you are not
eligible to file.

lf you me anyway, the court
can dismiss your case, you
will lose whatever nling fee
you paid, and your creditors
can begin collection activities
again.

: About Dabtor 1

    
 
  

You must check one:

w l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion. ‘

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

C\ l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,

you l\/lUST me a copy of the certificate and payment ; :

plan, if any.

Cl i certify ihaii asked for credit counseling
services from an approved agency,`but~was
unable to obtain those services during the 7 `
days afterl made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 230-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcyl and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court ls`
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

|f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you filet
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline ls granted
only for cause and' is limited to a maximum of 15
days. . `

a l am not required to receive a briefing about
credit counseling because of:

Cl lncapaclty. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about iinances.

l;] Disability. lilly physical disability causes me

to be unable to participate in a

briefing in person, by phone, or

through the internet. even after l
‘ reasonably tried‘to do so.

[] Active duty. l am currently on active military

duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must his a
motion for waiver of credit counseling with the court.

 

 

'.About Debtor 2 (Spouse Only'in a Joint Case) ‘ ::’ :__:_

You must check one:

~ m | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and l received a
` certificate of completion.

Attach a copy of the certificate and the payment
planl if any, that you developed with the agency.

in | received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but | do not have a
certificate of completion.

V\hthin 14 days after you file this bankruptcy petition,
you MUST tile a copy of the certincate and payment
plan, if any. :

 

 

' . _U l certify thatl asked for credit counseling

: services from an approved agency, but was
unable to obtain those services during the 7
days after| made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 130-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the brlehng, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

 

Your case may be dismissed if the court is
dissatished with your reasons for not receiving a
briefing before you filed for bankruptcy

|f the court is.satlsfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must fi|e,a certificate from the approved
agency, along Wlth a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed

Any extension of the 150-day deadline is granted
only for cause and is limited to a maximum of 15
days.

 

 

 

Cl lam not required to receive a briefing about
credit counseling because of:

 

 

n lncapacity. l have a mental illness or a mental
' denciency that makes me
incapable of realizing or making
rational decisions about finances
L__\ Disablllty. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internef. even after l
reasonably tried to do so.

m Active duty. l arn currently on active military

duty iri a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the couit.

 

 

thcial Form 101

Vo|untary Petlt_ion for individuals Fi|ing for Bankruptcy

page 5

 

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Yisel i\/lanso

Filst Name

Debtor 1

Middle Name

Case number rrrknown)
La§l Name

m Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S`C. § 101(8)
as “lncurred by an individual primarily for a persona|, family, or household purpose.”

El No.eotolino1eb.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Busl’ness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

Cl No. Go to |lne160. '
El Yes. Go to lino 17.

160. State the type of debts you owe that are not consumer debts or business debts.

 

 

11. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

m No. l am not tiling under Chapter 7. Go to line 18.

m Yes. l am Hling under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Sign Below

 

 

Cl $50,001-$100,000
El $100,001-$500,000
Cl $500,001-$1 million

l?i $0-$50,000

Cl $50,001-$100,000
El $100,001-$500,000
Cl $500,001-$1 million

El $10,000,001-$50 million
E] $50,000,001~$100 million

m $100,000,001-$500'mi||ion `

El s1,000.001»$10 million

El $10,000,001.$50 million
Cl $50,000,001-$100 million
ll] $100,000,001-$500million

excluded and BZ[ NO
administrative expenses
are paid that funds will bo 9 Yes
available for distribution
to unsecured creditors? i
1a. How many creditors do M 1-49 Cl 1,000-5.000 El 25,001-50,000
you estimate fhaty°u El 50-99 El 5,001-10,000 Cl 50,001~100,000
°We? El 100-199 ill 10,001-25,000 Ei lvloreilian 100,000
El 200~999
19. How much do you E $o-$so,oou E| $1,000,001-$10 million Cl $500,000,001-$1 billion

L'.l $1,000,000,001~$10 billion
ill $10,000,000,001-$50 billion
El ivloro than $50 billion

ill 3500,000,001-$1 billion

El $1,000,000,001-$10 billion
ill $10,000.000,001-$50 billion
El lvloro than soo billion

 

Foryou

| have examined this petition, and id

correct.

eclare under penalty of perjury thatthe information provided is true and

if | have chosen to hle under Chapter 7, l am aware that | may proceed, if eligible. under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter. and l choose to proceed
under Chapter 7.

lino attorney represents me and l did not pay or agree to pay someone who is'nol an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title~1 1, United States Code, specified in this petition.

| understand making a false statementy concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S,C. §§ 152, 1341. 1519. and 3571.

x /s/ Yise| |Vlanso x
Signature of Debtor 1

Executed on 04/25/2019
lvilvl / op /YYVY

 

 

Signature of Debtor 2

Executed on
MM / DD

 

/ YYYY

Officia| Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 6

 

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Debtor 1 Yl Se| Ma i'iSO _ Case number rirknowni

Flrst Name Middle Name Last Name

 

_ |, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
F°r your attorney’ 'f you are to proceed under Chapter 7, 11, 12, or 13 of title 11 , United States_ Code. and have explained the relief
represented by one available under each chapter for which the person is ellgible. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and. in a case in which § 707(b)(4)(D) applies, certify that l have no
if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect
by an attorney, you do not `

need to file this a e. _ _
p g x /s/ Glsse|le C.‘ Rosarlo ' bare 04/25/2019
Signalure ofAttorneyforDebior ` l ' ' M`M / DD l YYYY

Gisse|le C. Rosario
Prinied name

Law Ofiice of Gisselle C. Rosario, P.A.

Firm name

3182 W. 76th Street

Number Street

 

 

 

 

Hialeah ' FL 33018
city - v ‘ v state ziP code
gained phone (305) 556-1500 Email address Gissel|e@rosario|aw.net
865281 ' " ' Fl_
Bar number State

 

 

 

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Offlciai Form 101 Vo|untary Petitlon for individuals Fi|ing for Bankruptcy

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newa Yise| l\/lanso

t

Case number (lrknown)

 

Fiist Name Mlddie Name

Last Name

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

 

Official Form 101

The law allows youl as an individual, to represent yourse|fin bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney,

To be successfui. you must correctly Hle and handle your bankruptcy case. The rules are very
technicai, and a mistake or inaction may affect your rights. For exampie, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list ali your property and debts irl the schedules that'you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules if you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of ali your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or |ying. individual bankruptcy
cases are randomly audited to determine if debtors have been accuratel truthful, and complete.
Bankruptcy fraud is a serious crime;` you could be fined and imprisoned.

lf you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney, The court will not treat you differently because you are filing for yourself. To be
successfui, you must be familiar with the United States Bankruptcy Code, the Federa| Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C\ No

m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

El No

m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
m No

n Yes. Name of Person .
Attach Bankruptcy Petr'tiorl Preparer's Notl'ce, Declaratfon, and Sl'gnature (thcial Form 119).

By signing here, i acknowledge that i understand the risks involved in fiiing without an attorney, l
have read and understood this notice, and i am aware that niing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not proper|y'handle the case.

 

 

 

 

 

 

X /o/ Yisol lvlanso X
Signature of Debtor 1 S|gnature of Debior 2
gate 04/ 2 5/201 9 Date
MM/ DD /YYYY . v _NlM/ DD /YYYY
Contact phone ' l 1 Contect phone
Cel| phone Cell phone
Email address Emai| address

 

Vo|untary Petition for individuals Fi|irlg for Bankruptcy page 8

 

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`Fill in this information to identify your case and“t_his vfiling: n

     
 
 

Debtor1 Yisel Manso
First Name iVliddle Name Last Name

 

     

 

  
 

Debtor 2
(Spouse, if filing) First Name li/liddle Name Last Name

 

  
    
 
   

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF FLOR|DA

 

Case number
(if known)

 

|] Check if this is an
amended filing

 

Officlal Form iOGA/B
Schedule AlB: Property

 

12/15

   

in each category, separately list and describe items. List an asset only once. if an asset fits irl more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. if two married people are
filing together, both are equally responsible for supplying correct information. if more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Each Residence, Bui|ding, Land, or Other Rea| Estate You Own or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, iand, or similar property?

M No. Go to Part 2.
m Yes. Where is the property?

 

2. Add the dollar value of the portion you own for ali of your entries from Part1, including any
entries for pages you have attached for Part1. Write that number here ......................................................... -) $0'00

m Describe Your Vehicles

Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehic|e, also report it on Schedu/e G.' Execufon/ Contracts and Unexpired Leases.

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

|:] No
M Yes
3.1. Who has an interest in the property? Do not deduct secured claims or exemptions Put the
N|ake; Toyota Check one. amount of any secured claims on Schedule D:
Mode|: Tundra m Debtor 1 Only Credltors Who Have CIa/ms Secured by Properfy.
|:] Debtor 2 only Current value of the Current value of the
Year: 201 2 . ,, . 7
_----- m Debtor1 and Debtor 2 only entire Property- portion you Own-
Approx‘mate m"eage: L [Z[ At least one of the debtors and another $10,653_00 $10,653_00

 

Other information:

2012 Toyota Tundra 4D Extended Cab; [:| Check if this is community property
V|N 5TFRM5F1SCX041 818; Debtor (gee instructions)

does not pay for or operate this

vehicle. The vehicle is with the co-

debtorlsigner in Co|orado. Vaiue from

kbb.com.

Officiai Form 106A/B Schedule AlB: Property page 1

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Debtor1 Yisel Manso Case number (if known)

3.2. Who has an interest in the property? Do not deduct secured claims or exemptionsl Put the

Make; Chevro|et Check one. amount of any secured claims on Schedu/e D:

Mode‘: Equinox m Debtor 1 only Cred/tors Who Have C/a/'ms Secured by Property.

|:| Debtor 2 only Current value of the Current value of the

Year: 2016 . ., . 9
-_--_ m Debtor1 and Debtor 2 On|y entire P"°Pe"tY- PO|'th“ you OWn -

Approx'mate m"eage: 32»0°0 |Z[ At least one of the debtors and another $2,000_00 $2,000_00

Other information:

2016 Chevro|et Equinox (approx. [:| Check if this is community property

32,000 miles); value from Carmax (S€€ instructions)

appraisal. Vehcile has front-end
damage; REBU|LT TlTLE. Market value
is Debtor's half-interest.

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples.' Boats, trailers, motors, personal watercraft, fishing vessels, snowmobi|es, motorcycle accessories

M No
m Yes

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any
entries for pages you have attached for Part 2. Write that number here ......... -)

 

$12,653.00

 

 

 

m Describe Your Persona| and Househo|d items

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

Do you own or have any legal or equitable interest in any of the following items?

6. Househo|d goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware

|:] No

m Yes. Describe ..... Debtor's Bedroom: $320-00
1 queen-size bed...$150.00
2 lamps...$35.00
1 dresser...$55.00
2 nighstands...$45.00
Miscel|aneous knicknacks and picture frames...$35.00

7. Electronics
Examp/es.' Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
music collections; electronic devices including cell phones, cameras, media players, games

|:| No
[;_7[ Yes. Describe ..... 32"Toshiba television $40.00

B. Collectibles of value
Examples.' Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

MNO

m Yes. Describe .....

9. Equipment for sports and hobbies
Examp/es: Sports, photographic, exercise, and other hobby equipment bicycles, pool tables, golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments

MNo

|:| Yes. Describe .....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

LV_|NO

m Yes. Describe .....

Officia| Form 'lOSA/B Schedule AlB: Property page 2

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 11 of 58

 

Debtor1 Yi$el ManSO Case number (if known)
11. Clothes

Examples.' Everyday clothes, furs, leather coats, designer wear, shoes, accessories

m No

|Z[ Yes. Describe ..... Women's used clothing $150.00
12. Jewelry

Examp/es.' Everyday jewelry, costume jewelryl engagement rings, wedding rings, heirloom jewelry, watches, gems,

gold, silver
l:| No
|z] Yes. Describe ..... Costume jewelry $10.00

13. Non-farm animals
Examp/es.‘ Dogs, cats, birds, horses

MNO

[:| Yes. Describe .....

14. Any other personal and household items you did not already |ist, including any health aids you
did not list

|z] No
|:| Yes. Give specific
information .............

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
attached for Part 3. Write the number here .......................... . -) $520-00

 

 

 

mDescribe Your Financial Assets

Current value of th
Do you own or have any legal or equitable interest in any of the following? 9

portion you own?
Do not deduct secured
claims or exemptions

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand When you file your
peuhon
|:l No
[Z[ Yes .................................................................................................................................... Cash: .......................... $38.00

17. Deposits of money
Examples.' Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
brokerage houses, and other similar institutions lf you have multiple accounts with the same
institution, list each.

m No
[Z[ Yes ............................ institution name:
17.1. Checking account Checking account located at U.S. Century Bank ending in 6035 $77.00

 

18. Bonds, mutual funds, or publicly traded stocks
Exampies: Bond funds, investment accounts with brokerage firms, money market accounts

MNo

|_:[ Yes ............................ institution or issuer name:

Official Form 106A/B Schedu|e AlB: Property page 3

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 12 of 58

Debtor1 Yise| Manso Case number (ifknown)

19.

20.

21.

22.

23.

24.

25.

26.

27.

 

Non-pub|iciy traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLC, partnership, and joint venture

M No
m Yes. Give specific
information about
them .......................... Name of entity: % of ownership:

Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiab/e instruments include personal checks, cashiers‘ checks, promissory notes, and money orders.
Non-negotiabie instruments are those you cannot transfer to someone by signing or delivering them.

|z[ No
Yes. Give specific
information about
them .......................... issuer name:

Retirement or pension accounts
Examp/es.' interests in iRA, ER|SA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or
profit-sharing plans

|z[ No
|:| Yes. List each
account separately Type of account: institution name:

Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company
Examp/es: Agreements with landlords, prepaid rent, public utilities (eiectric, gas, Water), telecommunications
companies, or others

MNO

m Yes ............................ institution name or individuai:

Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
M No

|:| Yes ............................ issuer name and description:

interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

|Z[No

m Yes ............................ institution name and description Separately file the records of any interests 11 U.S.C. § 521(c)

Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
powers exercisable for your benefit
\§_7[ No
l”_'| Yes. Give specific
information about them

Patents, copyrights, trademarks, trade secrets, and other intellectual property;
Examp/es: internet domain names, websites, proceeds from royalties and licensing agreements
|2] No

Yes. Give specific

information about them

Licenses, franchises, and other general intangibles
Examp/es.' Building permits, exclusive iicenses, cooperative association hoidings, liquor licenses, professional licenses

|Z[ No
Yes. Give specinc
information about them

Officiai Form 106A/B Schedule AlB: Property page 4

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Debtor 1 Yisei Manso Case number (if known)

lltloney or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you

29.

30.

31.

32.

33.

34.

35.

36.

M No

['_'| Yes. Give specific information Federai:
about them, including whether
you already filed the returns
and the tax years ......................

State:
Local:

Fami|y support
Examp/es.' Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement property settlement

MNo

m Yes. Give specific information AlimOHyf
i\/laintenance:
Support:
Divorce settlement
Property settlement

Other amounts someone owes you
Examp/es.' Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
compensation, Social Security benefits; unpaid loans you made to someone else

MNO

[:| Yes. Give specific information

interests in insurance policies
Examp/es,' Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

|ZI No
m Yes, Name the insurance
company of each policy
and list its value ................ Company name: Beneficiary: Surrender or refund value:

Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently
entitled to receive property because someone has died

|Z[No

m Yes. Give specihc information

Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examp/es.' Accidents, employment disputes, insurance ciaims, or rights to sue

MNO

m Yes. Describe each claim ........

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

MNo

|'_'_l Yes. Describe each claim ........

Any financial assets you did not already list

MNo

m Yes, Give specific information

 

Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that number here .............................................. 9 $115-00

 

 

 

 

Official Form 106A/B Scheduie AlB: Property page 5

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Debtor1 Yisei Manso Case number (if known)

 

9 _Na_rt'5:H Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

M No. Go to Part 6.
|:] Yes. Go to line 38.

Current value of the

portion you own?

Do not deduct secured

claims or exemptionsl
38. Accounts receivable or commissions you already earned

MNo

|_"_`| Yes. Describe..

39. Office equipment, furnishings, and supplies
Examples.' Business-re|ated computers, software, modems, printers, copiers, tax machines, rugs, telephones
desks, chairs, electronic devices

MNO

m Yes. Describe..

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

MNo

|:| Yes. Describe..

41. inventory

MNO

m Yes. Describe..

42. interests in partnerships or joint ventures

|z[ No
L'_] Yes. Describe ..... Name of entity: % of ownership:
43. Customer |ists, mailing lists, or other compilations

|z[No

l'_'_l Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

[:]No

|'_“| Yes, Describe .....

44. Any business-related property you did not already list

MNO

|:| Yes. Give specific information

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
attached for Part 5. Write that number here ........................ ") $0'00

 

 

 

 

 

Describe Any Farm- and Commercial Fishing-Re|ated Property You Own or Have an interest |n.
if you own or have an interest in farmland, list it in Part1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

M No. Go to Part 7.
m Yes. Go to line 47.

Officia| Form 106A/B Schedule AlB: Property page 6

 

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Debtor1 Yisei Manso Case number (if known)
Current value of the
portion you own?
Do not deduct secured
claims or exemptions
47. Farm animals
Examp/es,' Livestock, poultry, farm-raised fish
121 No
l:| Yes....
48. Crops--either growing or harvested
|z[ No
Yes. Give specific
information ................
49. Farm and fishing equipment, impiements, machinery, fixtures, and tools of trade
|z[ No
l:] Yes....
50. Farm and fishing supplies, chemicais, and feed
121 No
|:| Yes....
51. Any farm- and commercial fishing~related property you did not already list
|Z[ No
Yes. Give specific
information ................
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
attached for Part 6. Write that number here ...................... . ............ . ............ 9 $0'00
`,..Part _7:, Describe Ail Property You Own or Have an interest in That You Did Not List Above
53. Do you have other property of any kind you did not already |ist?
Examp/es: Season lickets, country club membership
M No
|:| Yes. Give specific information.
54. Add the dollar value of ali of your entries from Part 7. Write that number here ........ -) $o'oo
Official Form 106A/B Schedule AlB: Property page 7

 

 

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Debtor1 Yisei Manso

 

 

List the Totals of Each Part of this Form

 

Case number (if known)

Copy personal

55. Part1; Totai reai estate, iine 2 .............................................................................................................................. ')
56. Part 2: Totai vehicles, line 5 $12,653.00
57. Part 3: Totai personal and household items, line 15 $520.00
58. Part 4: Totai financial assets, line 36 $115.00
59. Part 5: Totai business-related property, line 45 $0.00
60. Part 6: Totai farm- and fishing-related property, line 52 $0.00
61. Part 7: Totai other property not listed, line 54 + $0.00
62. Totai personal property. Add lines 56 through 61 .................. $13,288.00

63. Totai of all property on Schedu|e A/B.

Officia| Form iOGA/B

 

 

 

Add line 55 + line 62 ................................................................................

Schedule Ale Property

property total

9+

$0.00

$13,283.00

 

 

$13,288.00

 

page 8

 

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F-\

  

v 15 i,\i`.f'<>'"i'\@tionf¢ i.d¢n ,\ iiii'¢>vr"¢a_$e,=;

 

Debtor1 Yisei Manso
Firsi Name lVliddie Name Last Name

    
 

  
   
   
   
   

Debtor 2
(SpOUse, if filing) First Name lVliddle Name Last Name

United States Bankruptcy Court for the: SOUTHERN DlSTRICT OF FLOR|DA

 

[_] Check if this is an

Case number amended H|ing

 

 

(if known)
Otiicial Form 1060
Schedule C: The Property You Claim as Exempt 04/19

 

 

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct information
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 21 Additiona/ Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. A|ternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount,

mntify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one On/yl even ifyour spouse is filing With you,

|Z You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
l:| You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own

Copy the value from Check only one box for

 

SchedL/le A/B each exemption
Brief description: $2,000.00 |zl $2,000.00 Fla. Stat. Ann. § 222.25(1) (Claimed:
2016 Chevro|et Equinox (approx. 32,000 m 100% of fair market $2,000.00
miles); value from Carmax appraisal. value, up to any Fla. Stat. Ann. § 222.25(4))
Vehcile has front-end damage; REBU|LT applicable statutory
TlTLE. Market value is Debtor's half- limit

interest.
Line from Schedule A/B: 3.2

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

MNo

|:] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
|:| No
m Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1

Case 19-15611-A.]C DOC 1 Filed 04/29/19 Page 18 of 58

Debtor1 Yisei Manso Case number (if known)

 

 

` Additionai Page

Current value of Amount of the Specific laws that allow exemption
the portion you exemption you claim

OWI`I

Brief description of the property and line on
Schedule A/B that lists this property

Copy the value from Check only one box for
Schedule A/B each exemption

Brief description: $320.00

$320.00

 

Debtor's Bedroom:
1 queen-size bed...$150.00
2 |amps...$35.00

100% of fair market
value, up to any
applicable statutory

Fia. Stat. Ann. § 222.25(4)

1 dresser...$55.00 limit
2 nighstands...$45.00

Miscellaneous knicknacks and picture

frames...$35.00

Line from Schedule A/B: 6

 

n_i

Brief description: $40.00
32" Toshiba television

$40.00 F
100% of fair market
value, up to any
applicable statutory
limit

. Stat. Ann. § 222.25(4)

§§

Line from Schedule A/B.' 7

 

Brief description: $150.00
Women's used clothing

Line from Schedule A/B.' 11

$150.00 Fia. Stat. Ann. § 222.25(4)
100% of fair market
value, up to any
applicable statutory
limit

§§

 

Brief description: $10.00
Costume jewelry

Line from Schedule A/B: 12

$10.00 Fia. Stat. Ann. § 222.25(4)
100% of fair market
value, up to any
applicable statutory
limit

§§

 

Ei'

$38.00 F
100% of fair market
value, up to any
applicable statutory
limit

Brief description: $38.00
Cash on hand

Line from Schedule A/B: 16

. Stat. Ann. § 222.25(4)

§§

 

$77.00 F
100% of fair market
value, up to any
applicable statutory
limit

Brief description: $77.00
Checking account located at U.S. Century

Bank ending iri 6035

Line from Schedule A/B.‘ 17.1

a. stat Ann. § 222.25(4)

§§

 

Official Form 1060 Schedule C: The Property ¥ou Claim as Exempt page 2

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;;F`_iii§m, this " '
Debtor1 Yisei Manso
Firsl Name Middle Name Last Name

Debtor 2
(SpOuse, if iiiing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DiSTR|CT OF FLOR|DA

§fa}s!eorxinmber l:] Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying
correct information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

m No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
M Yes. Fill in all of the information below.

m List All Secured Claims

2. List all secured claims. if a creditor has more than one secured
claim, list the creditor separately for each claim. if more than one
creditor has a particular claim, list the other creditors in Part 2, As
much as possib|e, list the claims in alphabetical order according to the
creditor's n_ame,

 

 

 
  

;Yalli¢"¢i.:¢§lle¥s_ra '
'fhetsvpporfs'fhi

'claim':~` :,:

 
      

Dej@taaa._iainé
value of'c`ollatera

 

 

2 1 7 Describe the property that _
` secures the claim $23,101.00 $10,653.00 $13,048_00
Wells Fargo Deaier Services 2012 Toyota Tundra

Creditor's name
Attn: Bankruptcy
Number Street

PO Box 19657

 

 

As of the date you file, the claim is: Check all that apply.
m Contingent

 

 

lr_Vine CA 92623 m Unliquidated
Crty State ZlP Code m Disputed
Wh° owes the debt? Check O"e- Naiure or iien. check ali that appiy.

m Debtor1 only

l:| Debtor 2 only

|:] Debtor1 and Debtor2 only

|_7_] At least one of the debtors and another

|(_7[ An agreement you made (such as mortgage or secured car loan)
m Statutory lien (such as tax lien, mechanic's lien)

|:| Judgment lien from a lawsuit

121 Other (inc|uding a right to offset)

|:| Check if this claim relates Automobile
to a community debt
Date debt was incurred 07/2016 Last 4 digits of account number 3 5 0 5

Debtor is co-signer on this loan.

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $23,701.00

 

 

if this is the last page of your form, add the dollar value totals from
all pages. Write that number here: $23,701.00

 

 

 

Ol'ficial Form 1060 Schedule D: Creditors Who Have Claims Secured by Property page 1

Page 20 of 58

Manso

 

Firsl Name

Debtor 2

Middle Name

Last Name

 

(Spouse, if filing) First Name

Mlddle Name

Last Name

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF FLOR|DA

Case number

 

(if known)

 

|:] Check if this is an
amended filing

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part1 for creditors with PRlORlTY claims and Part 2 for creditors with NONPR|OR|TY

 

12/15

 

 

ciaims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts

on Schedule A/B: Property (Officiai Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
if more space is needed, copy the Part you need, fill it out, number the entries iri the boxes on the ieft. Attach the Continuation Page

to this page. On the top of any additional pages, write your name and case number (if known).

m List Aii or Your PRioRiTY unsecured ciaims

 

1_ Do any creditors have priority unsecured claims against you?

|Z[ No. Go to Part 2.

[] Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each
claim, For each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts list that claim here and
show both priority and nonpriorily amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. if
more space is needed for priority unsecured claims, Hll out the Continuation Page of Part 1. if more than one creditor holds a particular

claim, list the other creditors iri Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet

 

2.1

 

 

 

 

Priority Creditors Name

 

 

 

 

Number Street
C`ity State ZlP Code
Who incurred the debt? Check one.

|:| Debtor1 only
|:| Debtor 2 only
Debtor1 and Debtor2 only
l:] At least one of the debtors and another
l:_] Check if this claim is for a community debt
is the claim subject to offset?
NO

m Yes

Official Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

 

‘ N¢nprioriiy

 

TOfaiClaim r: t Prlority-:'

   

   

 

Last 4 digits of account number

When was the debt incu rred?

As of the date you file, the claim is: Check all that apply.
m Contingent

|:] Unliquidated

[] Disputed

Type of PRlORlTY unsecured claim:

|:| Domestic support obligations

|:] Taxes and certain other debts you owe the government

|:l Claims for death or personal injury while you were
intoxicated

{:] Other. Specify

page 1

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 21 of 58

Debtor 1 Yisei Manso

Case number (if known)

 

m List All of Your NONPR|OR|TY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

m No. You have nothing to report in this part. Submit this form to the court with your other schedules

121 Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
lf a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim |isted, identify what
type of claim it is. Do not list claims already included in Part1. if more than orie creditor holds a particular claim, list the other creditors in
Part 3. if more space is needed for nonpriority unsecured claims, till out the Continuation Page of Part 2.

 

4.1

 

 

 

Cava|ry Portfolio Services

 

Nonpriority Creditor’s Name
ATTN: Bankruptcy Department

 

Number Street
500 Summit Lake Ste 400

 

 

 

Valhalla NY 10595
City State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only
L__] At least one of the debtors and another

m Check if this claim is for a community debt

is the claim subject to offset?

IZ[ l\lo
|'_'| Yes

4.2

 

 

 

 

Chase Card Services

 

Nonpriority Creditoi’s Name
Attn: Bankruptcy

 

Number Street

PO Box 15298

 

 

 

Wilmington DE 19850
Cl'ty State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
m Debtor 2 only
\:| Debtor1 and Debtor2 only
['_'_\ At least one of the debtors and another
|'_'j Check if this claim is for a community debt
ls the claim subject to offset?
M No
m Yes

Oft"icial Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

  

"' Totai claim 71

 

$3,832.00
Last 4 digits of account number __§_ _;4_ 1 _2_ _”
07l2017
As of the date you file, the claim is: Check all that apply.

[:] Contingent
|_"_] Unliquidated

m Disputed

When was the debt incurred?

Type of NONPR|OR|T¥ unsecured claim:
m Student loans
\:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Collection Attorney

$2,960.00
Last 4 digits of account number 1 l _5_ _Z_
10/2014
As of the date you file, the claim is: Check all that app|y.

|:l Contingent
|:] Unliquidated

m Disputed

When was the debt incu rred?

Type of NONPR|OR|TV unsecured claim:
|:| Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
\z[ Other. Specify
Credit Card

page 2

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 22 of 58

Debtor1 Yisei Manso

Case number (if known)

 

m Your NONPR|OR|TY Unsecured Claims -- Continuation Page

 

After listing any entries on this page, number them sequentially from the

previous page.

 

4.3
Citibankl'l'he Home Depot

 

 

 

 

Nonpriority Creditoi‘s Name
Attn: Recoverleentralized Bankruptcy

 

Number Street

PO Box 790034

 

 

St Louis MO 63179
City State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
m Debtor 2 only
|:| Debtor1 and Debtor2 only
['_‘_| At least one of the debtors and another
|:| Check if this claim is for a community debt
ls the claim subject to offset?
jz[ No
|:| Yes

4.4

 

 

 

 

FedLoan Servicing

 

Nonpriority Creditors Name
Attn: Bankruptcy
Number Street

PO Box 69184

 

 

 

Harrisburg PA 17106
City State ZlP Code
Who incurred the debt? Check one.

|z[ Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only
m At least one of the debtors and another
|:l Check if this claim is for a community debt
is the claim subject to offset?
M No
m Yes

4.5

 

 

 

 

FedLoan Servicing

 

Nonpriority Creditofs Name
Attn: Bankruptcy

 

Number Street

PO Box 69184

 

 

Harrisburg PA 17106
City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only

jj At least one of the debtors and another

I:| Check if this claim is for a community debt
ls the claim subject to offset?

E[ No
m Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

   

rotai§ciairn = 5
$3,606.00
Last 4 digits of account number _§__ _Q_ 1 1
When was the debt incurred? 04/2015
As of the date you file, the claim is: Check all that apply.
l:] Contingent
|:] Unliquidated
l'_"] Disputed
Type of NONPR|OR|TY unsecured claim:
m Student loans
[___| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Charge Account
$3,270.00
Last 4 digits of account number _0_ _0__ _0_ __3_
When was the debt incurred? 09/2008
As of the date you file, the claim is: Check all that apply.
[:] Contingent
jj Unliquidated
jj Disputed
Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:| Debts to pension or proht-sharing plans, and other similar debts
M Other. Specify
Educational
$1,516.00

Last 4 digits of account number _0_ _0__ 1 L
03/2009
As of the date you file, the claim is: Check all that app|y.

jj Contingent
|:| Un|iquidated

[:| Disputed

When was the debt incurred?

Type of NONPR|OR|TY unsecured claim:
Student loans
L__] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
|:] Debts to pension or profit-sharing plans, and other similar debts
|Z[ Other. Specify
Educational

page 3

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 23 of 58

Debtor 1

Yisei Manso

Case number (if known)

 

 

After listing any entries on this page, number them sequentially from the

previous page.

 

4.6

 

 

 

FedLoan Servicing

 

Nonpriority Creditors Name
Attn: Bankruptcy
Number Street

PO Box 69184

 

 

 

Harrisburg PA 17106
Cliy State Z|P Code
Who incurred the debt? Check one.

|z[ Debtor1 only
Debtor 2 only
Debtor1 and Debtor2 only
[:| At least one of the debtors and another

m Check if this claim is for a community debt
is the claim subject to offset?

M No
|:] Yes

4.7
Midiand Funding

 

 

 

 

 

Nonpriority Creditor's Name
2365 Northside Dr Ste 300

 

 

 

 

Number Street

San Diego CA 92108
City State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
Debtor 2 only
Debtor1 and Debtor 2 only
[:] At least one of the debtors and another

|:| Check if this claim is for a community debt
ls the claim subject to offset?

M No
j:] Yes

4.8
Midiand Funding

 

 

 

 

 

Nonpriority Creditor‘s Name
2365 Northside Dr Ste 300

 

 

 

 

Number Street

San Diego CA 92108
City State ZlP Code
Who incurred the debt? Check one.

Debtor1 only
|:] Debtor 2 only
Debtor1 and Debtor2 only
|:] At least one of the debtors and another
[:] Check if this claim is for a community debt
is the claim subject to offset?
M No
[:| Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

§ Your NONPR|ORITY Unsecured Claims -- Continuation Page

   

criticism

$629.00
Last 4 digits of account number L __0_ _0_ _£_
04/2009
As of the date you file, the claim is: Check all that apply.

\:| Contingent
m Unliquidated

[:| Disputed

When was the debt incurred?

Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
M Other. Specify
Educationa|

$4,571.00
Last4 digits of account number _i_ _3_ l _§_
08[2017
As of the date you file, the claim is: Check all that app|y.

l:| Contingent
|:] Unliquidated
m Disputed

When was the debt incurred?

Type of NONPRlOR|TY unsecured claim:
|:| Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
jz[ Other. Specify
Factoring Company Account

$2,010.00
Last 4 digits of account number 1 _9_ _0__ _§_
08/2017
As of the date you file, the claim is: Check all that apply.

|'_`| Contingent
[:] Unliquidated

|:| Disputed

When was the debt incurred?

Type of NONPR|OR|TY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
[Z Other. Specify
Factoring Company Account

page 4

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 24 of 58

Debtor1 Yisel Manso Case number (if known)

 

Your NONPR|ORlTY Unsecured Claims -- Continuation Page

 

 

After listing any entries on this page, number them sequentially from the
previous page.

 

Totai claimc §

 

 

 

 

 

 

 

 

 

4.9 $875.00
Synchrony Bank/Yamaha Last 4 digits of account number 0 2 9 8
Nonpriority Creditors Name . 9 _ _ _ __
Attn: Bankruptcy Dept When was the debt mcurred. 9_:]_/£0_1_6_______
Number Street As of the date you file, the claim is: Check all that apply.
PO Box 965060 m Contingent
m Un|iquidated
m Disputed
Orlando FL 32896
City State ZlP Code Type of NONPR|OR|TY unsecured claim:

Who incurred the debt? Check one.
Debtor 1 only
Debtor 2 only

m Debtor1 and Debtor2 only

|:] At least one of the debtors and another

Student loans
Obligations arising out of a separation agreement or divorce
,‘ that you did not report as priority claims
|:| Debts to pension or proHt-sharing plans, and other similar debts
Other. Specify

 

 

 

 

 

 

 

 

 

|:] Check if this claim is for a community debt purchase Money

ls the claim subject to offset?

|z[ No

l:| Yes

Deficiency owed on a stolen 2016 Yamaha Sport Jet Ski (stolen in 2017)

4.10 $7,044.00
Wells Fargo Bank Last 4 digits of account number 0 0 0 1
Nonpriority Creditors Name . ., __ __ ____ __
Attn: Bankruptcy When was the debt lncurred. 12I2015
Number Street As of the date you file, the claim is: Check all that app|y_
PO BOX10438 m Contingent

m Un|iquidated
m Disputed
Des Moines lA 50306
City State ZlP Code Type or NONPRlOR|TY unsecured claim:

Who incurred the debt? Check one.
\`__/‘[ Debtor1 only
Debtor 2 only

[`_'| Student loans
|:| Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

zte`btort1 and lf]§hbtc;ir iton'y d m Debts to pension or profit-sharing plans, and other similar debts
L__| eas one o e e ors an ano er M Other_ Specify

m Check if this claim is for a community debt Note |_Oan
ls the claim subject to offset?

M No
m Yes

Of'ficiai Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page 5

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 25 of 58

Debtor1 Yisel Manso

Case number (if known)

 

 

List Others to Be Notified About a Debt That You A|ready Listed

5- Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
For examp|e, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
debts that you listed in Parts 1 or 2, list the additional creditors here. |f you do not have additional parties to be notified for
any debts in Parts 1 or 2, do not fill out or submit this page.

Aeslwllsfrgo
Name

Attn: Bankruptcy

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check one); |'_'] Part 1: Creditors with Priority Unsecured Claims

 

N umber Street

 

 

 

 

PO Box 2461

Harrisburg PA 17105
City State ZlP Code
Aeslwllsfrgo

Name

Attn: Bankruptcy

EdUCainnal |:| Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number _£ ___(_)_ __0_ _4_

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check One),' |__'| Part 1: Creditors with Priority Unsecured Claims

 

 

 

 

Number Street

PO Box 2461

Harrisburg PA 17105
City State ZlP Code

Aeslwllsfrgo

 

EdUCatiOnal L__] Part 2: Creditors With Nonpriority Unsecured Claims

Last 4 digits of account number __0_ _0 l _3

On which entry in Part1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

Name
Attn: Bankruptcy Line of (Check one)_' m Part 1: Creditors with Priority Unsecured Claims
S v

E\gl§;x 24§;€1 Educat'°nal m Part 2: Creditors With Nonpriority Unsecured Claims
Last 4 digits of account number _9__ _0_ 0 2

Harrisburg PA 17105 _ _

City State ZlP Code

Best Buylcbna On which entry in Part1 or Part 2 did you list the original creditor?

Name

Centralized Bankruptcy Line of (Check one).' |:] Part 1: Creditors with Priority Unsecured Claims

t ' . . . ,

glg§eg§,oos feet Credit Card m Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number l l 2 3

Sioux Falls SD 57117 _ _

City State ZlP Code

Citibank On which entry in Part1 or Part 2 did you list the original creditor?

Name

Attn: Recoverleentra|ized Bankruptcy
Number Street

PO Box 790034

 

St Louis MO 63179
City State ZlP Code

Official Form 1OGE/F

Line of (Check one): |:| Part 1: Creditors with Priority Unsecured Claims

Credit Card n Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number _3 _3 _4__ _2_

Schedule E/F: Creditors Who Have Unsecured Claims page 6

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 26 of 58

Debtor1

Yise| Manso

Case

 

 

ComenitylAlphaeoncos

 

Name
Attn: Bankruptcy Dept
Number Street

PO Box 182125

 

 

 

 

On which entry in Part1 or Part 2

Line of (Check one): m
Credit Card m

Last 4 digits of account number

 

 

 

 

Columbus OH 43218

City State ZlP Code

ConduentIAelma On which entry in Part1 or Part 2

Name

Attn: Claims Dept Line of (Check one): m

Number Street Educational

Po Box 7051 l:l
Last 4 digits of account number

Utica NY 13504

City State ZlP Code

Deptartment Store National Bank/Macy's

 

On which entry in Part1 or Part 2

 

Name

Attn: Bankruptcy Line of (Check one): m
Number Street Ch

9111 ouke Bouievard arge A°°°""t lIl

 

 

 

 

Last 4 digits of account number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Mason OH 45040

City State ZlP Code

FedLoan Servicing On which entry in Part1 or Part 2

Name

Attn: Bankruptcy Line of (Check one): [:|

Number Street Ed t-

Po Box 69184 “°a '°"a' l:l
Last 4 digits of account number

Harrisburg PA 17106

City State ZlP Code

SyncblRooms To Go On which entry in Part 1 or Part 2

Name

Attn: Bankruptcy Line of (Check one): |:\

Number Street Ch

Po Box 965060 arge A°°°“"t l]
Last 4 digits of account number

Orlando FL 32896

City State ZlP Code

Synchrony Bank/Amazon On which entry in Part1 or Part 2

Name

Attn: Bankruptcy Line of (Check one): |:|

Number Street Ch

Po Box 965060 afge A°°°u"t []
Last 4 digits of account number

Orlando FL 32896

City State ZlP Code

Officia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

number (if known)

List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

did you list the original creditor?

Part1: Creditors With Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured Claims

_°__714__2_

did you list the original creditor?

Part 11 Creditors with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured Claims

_§__5__6__1_

did you list the original creditor?

Part 1: Creditors With Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured Claims

_B_L__S__z_

did you list the original creditor?

Part1: Creditors with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured Claims

_°__9___9__§_

did you list the original creditor?

Part1: Creditors with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured Claims

__31.1_31

did you list the original creditor?

Part 1: Creditors with Priority Unsecured Claims

Part 2: Creditors With Nonpriority Unsecured Claims

_4_3__°_5

page 7

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 27 of 58

Debtor1 Yisel Manso

Case number (if known)

 

 

Synchrony Bank/Amazon

 

List Others to Be Notified About a Debt That You A|ready Listed -- Continuation Page

On which entry in Part1 or Part 2 did you list the original creditor?

 

 

 

 

Name
Attn: Bankru tc Line of (Check one).‘ Part1: Creditors with Priority Unsecured Claims
N b St p y n
i . . 4 .
plg§;,x 965[3;0 Charge Account |:| Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 4 l l __é_
Or|ando FL 32896 "“
City State ZlP Code

Synchrony Bank/BRMart

 

On which entry in Part1 or Part 2 did you list the original creditor?

 

 

 

 

Name

Attn: Bankruptcy Line of (Check one).' [:] Part 1: Creditors with Priority Unsecured Claims

B%nt§;)x 968§8€64 Charge Account l:] Part 2: Creditors With Nonpriority Unsecured Claims
Last 4 digits of account number 4 3 8 7

Orlando FL 32896 ___ _" _ _

City State ZlP Code

Synchrony Bank/Care Credit

 

On which entry in Part1 or Part 2 did you list the original creditor?

 

Name
Attn: Bankruptcy Dept Line of (Check one).' m Part 1: Creditors with Priority Unsecured Claims
t t
§lgt§[,)x 9635r3;0 Charge Account m Part 2: Creditors With Nonpriority Unsecured Claims

 

 

Orlando FL 32896

 

City State ZlP Code

Synchrony Bank/Lowes

 

Last 4 digits of account number 8 _§__ _l l

On which entry in Part 1 or Part 2 did you list the original creditor?

 

Name
Attn: Bankruptcy Line of (Check one).' m Part1: Creditors With Priority Unsecured Claims
t t
glgbBe;)x gessrgzo Charge Account l:], Part 2: Creditors With Nonpriority Unsecured Claims

 

 

Orlando FL 32896

 

City State ZlP Code

Last 4 digits of account number _0_ _l l _8

Officia| Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 8

Debtor1 Yisel Manso

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 28 of 58

 

 

v Add the Amounts for Each Type of Unsecured Claim

Case number (if known)

5- Totai the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y.
28 U.S.C. § 159. Add the amounts for each type of unsecured claim.

Tota| claims Ga.
from Part 1
6b.
6c.
6d.
6e.

Total claims 6f.
from Part 2

Bg.

6h.

6i.

sj.

Official Form 106E/F

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims. Write that amount here.

Total. Add lines 63 through 6d.

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar
debts

Other. Add all other nonpriority unsecured claims. Write that amount here.

Total. Add lines 6f through 6i.

6a.

Sb.

6c.

6d.

Gd.

6f.

6g.

Gh.

6i.

ej.

Schedule EIF: Creditors Who Have Unsecured Claims

Total claim

$o.oo
$0.00
$0.00

$0.00

 

 

$0.00

 

 

Total claim

$0.00

$0.00

$0.00

$30,313.00

 

 

$30,313.00

 

 

page 9

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 29 of 58

Debtor1 Yisel Manso
First Name Midd|e Name Last Name

Debtor 2
(Spouse, if filing) First Name Midd|e Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF FLOR|DA

§i`,fa:[eorcvunr;iber L__| Check if this is an
amended filing

 

 

 

Ofiicial Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. lt two married people are filing together, both are equally responsible for supplying
correct information. lt more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).

     

1. Do you have any executory contracts or unexpired leases?

[Zj No, Check this box and file this form with the court with your other schedules You have nothing else to report on this torm.
|:| Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Officia| Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples ot
executory contracts and unexpired |eases.

Person or company with whom you have the contract or lease State what the contract or lease is for

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 30 of 58

i fmyy '

   

 
   
 
 
 

Debtor1 \’isel Manso
First Name Midd|e Name Last Name

     

 

  
 

Debtor 2
(SpOUse, if Hling) First Name Middle Name Last Name

 

  
     
 
   

United States Bankruptcy Court forthe: SOUTHERN DlSTRlCT OF FLOR|DA

 

Case number
(if l<nown)

 

j:| Check if this is an
amended filing

 

thcial Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possib|e. lf
two married people are filing together, both are equally responsible for supplying correct information. |f more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a Codebtor.)
m No
[Z[ Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Commun/'ty property states and territories
include Arizona, California, ldaho, Louisiana, Nevada, New l\/lexico, Puerto Rico, Texas, Washington, and Wisconsin.)
|Z[ No. Go to line 3.
m Yes. Did your spouse, former spouse, or legal equivalent live With you at the time?
|:] No
|:] Yes

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106EIF), or Schedule G (Official Form 106G). Use
Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

Column 1.' Your codebtor Column 2.' The creditor to whom you owe the debt

Check all schedules that apply:

 

 

Sa':;e"°e L‘ Car"a]a' M schedule D, line 2_1
26415 Woodward Ave ~
Number Street l'_'] Schedule E/F, line

[_] Schedule G, line

Moffat CO 81143 Wells Fargo Deaier Services
City State ZlP Code

 

 

Official Form 106H Schedule H: Your Codebtors ' page 1

CaSe 19-15611-A.]C DOC 1 Filed 04/29/19

Debtor1 Yisei

Manso

 

First Name Nliddle Name

Debtor 2

Last Name

 

(SpOuSe, if i"l|ing) First Name lVliddle Name

United States Bankruptcy Court for the:

Case number

Last Name

SOUTHERN DlSTRlCT OF FLOR|DA

 

 

(if known)

i:|
i:i

 

thcial Form 106l
Schedule l: Your income

     

Be as complete and accurate as possibie. if two married people are filing together (Debtor 1 and Debtor 2), both are equally

Page 31 of 58

Check if this is:

An amended filing

A supplement showing postpetition
chapter 13 income as of the following date:

iViivi/DD/YYYY

12/15

responsible for supplying correct information. if you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. if you are separated and your spouse is not filing with you, do not include information
about your spouse. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name'and case number (if known). Answer every question.

mDescribe Emp|oyment

1. Fill in your employment
information.
if you have more than one
job, attach a separate page
with information about
additional employers.

Emp|oyment status

Occupation

include part-time, seasonal,
or self-employed work. Emp|oyer-S name
Occupation may include

student or homemaker, if it

Emp|oyer's address

Debtor 1

[ZI Emp|oyed
|`_`| Notemployed

Nail Technician

Debtor 2 or non-filing spouse

m Emp|oyed
|:| Notemployed

 

Gelous Beauty Bar

 

4652 Palm Avenue

 

Number Street

Number Street

applies.

 

 

Hialeah FL 33012
City State Zip Code City

 

State Zip Code

How long employed there? 3 Weeks

m Give Detai|s About Monthly income

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space include your
non-filing spouse unless you are separated

 

lt you or your non-filing spouse have more than one employer, combine the information for all employers forthat person on the lines below. if
you need more space, attach a separate sheet to this form.

For Debtor 2 or
non-filing spouse

For Debtor 1

 

 

 

 

2. List monthly gross wages, salary, and commissions (before all 2. $975-00
payroi| deductions). if not paid month|y, calculate what the monthly wage
would be_
3. Estimate and list monthly overtime pay. 3. + $0.00
4. Calcu|ate gross income. Add line 2 + line 3. 4. $975.00

 

 

 

 

 

 

Official Form 106l Schedule i: Your income page 1

Debtor 1

10.

11.

12.

13.

CaS€ 19-15611-A.]C

Yisei Manso

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Case number (if known)
For Debtor 1

For Debtor 2 or
non-filing spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy line 4 here ............. -) 4 $975.00
List all payroll deductions:
5a. Tax, Medicare, and Sociai Security deductions 5a. $0-00
5b. Mandatory contributions for retirement plans 5b. $0-00
5c. Vo|untary contributions for retirement plans 5c. 350-00
5d. Required repayments of retirement fund loans 5d. $O-OO
5e. insurance 5e. $0.00
5f. Domestic support obligations 5f. $O-OO
Sg. Union dues 5g. $0.00
5h. Other deductions.

Specify: 5h.+ $0-00
Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5e + 5f + 6. $()_()(]
59 + 5h. l
Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $975_00
List all other income regularly received:
8a. Net income from rental property and from operating a Ba. $0.00

business, profession, or farm

Attach a statement for each property and business showing

gross receipts, ordinary and necessary business expenses, and

the total monthly net income.
8b. interest and dividends 8b. $0_00
8c. Famiiy support payments that you, a non-filing spouse, or a 8c. $0_00

dependent regularly receive

include alimony, spousal support, child support, maintenance,

divorce settlement, and property settlement
8d. Unemployment compensation 8d. $0_00
8e. Sociai Security v v Be. $0.00
Bf. Other government assistance that you regularly receive

include cash assistance and the value (if known) or any non-

cash assistance that you receive, such as food stamps

(benefits under the Supplemental Nutrition Assistance Program)

or housing subsidies

Specify: 8f. $0_00
Bg. Pension or retirement income 8g. $0_00
8h. Other monthly income.

Specifyf See continuation sheet 3h-+ $184.00
Add all other income. Add lines Ba + 8b + 8c + 8d + 8c + Bf + 89 + Bh. 9. $184_00
Calcuiate monthly income. Add line 7 + line 9. 10. $1,159.00 + = $1,159.00

Add the entries in line 10 for Debtor1 and Debtor 2 or non-filing spouse,

State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

 

 

 

 

 

 

 

 

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

11,

 

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly 12,
income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical lnformation,

if it applies.

Do you expect an increase or decrease within the year after you file this form?

+

$0.00

 

$1,159.00

 

 

Combined
monthly income

 

|Z[ No.

|___| Yes. Explain:

 

None.

 

Oi'ficial Form 106l

Schedule l: Your income

page 2

 

 

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 33 of 58

Debtor 1 Yisel Manso Case number (if known)

For Debtor1 For Debtor 2 or
an other Monthly income (detaiis) "°“'f"‘"g sp°“$e

 

 

 

Food stamps $159.00
Cash tips $25.00
Totals: $184.00

 

 

 

 

 

 

Official Form 106l Schedule l: Your income page 3

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 34 of 58

m '

 
   
     
 
 

  

Check if this is:

m An amended filing

m A supplement showing postpetition
chapter 13 expenses as of the
following date:

  

Debtor 1 Yisei Manso
First Name Middle Name Last Name

 

  
     
 

Debtor 2
(Spouse, if fliil'ig) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF FLOR|DA

   
 
   

 

  

 

 

lle / oo/YYYY
Case number
(if known)
Official Form 106J
Schedule J: Your Expenses 12/15
m m m my n

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying
correct information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.

Describe Your Househo|d

v Part1:
1_ is this a joint case?

E[ No. caroline 2,
|:| Yes. Does Debtor 2 live in a separate household?

['_`| No
m Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Househo|d of Debtor 2.

2. Do you have dependents? ['_'] NO

 

 

 

 

 

 

. . - ~ Dependent's relationship to Dependent's Does dependent
. Yes. Fill out this information _ _
§obr;:tr ;st Debtor1 and |ZI for each dependent ___________________ Debtor1 or Debtor 2 age live with you?
e .
Son 6 § so
es
Do not state the dependents'
names. [:] NO
jj Yes
['_'] No
[] Yes
|j No
m Yes
|___| No
|:'_'] Yes
3. Do your expenses include M NO
expenses of people other than m Yes

yourself and your dependents?

mEstimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule l: Your income (Of'ficiai Form 106|.) Your exeenses

4. The rental or home ownership expenses for your residence. 4. $400.00
include first mortgage payments and any rent for the ground or lot.

if not included in line 4:

4a. Real estate taxes 43_
4b. Property, homeowner's, or renter's insurance 4b.
4c. Home maintenance, repair, and upkeep expenses 4c
4d. Homeowner‘s association or condominium dues 4d.

Officia| Form 106J Schedule J: Your Expenses page 1

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Debtor 1 Yisel Manso

 

Case number (if known)

Your expenses

 

 

 

 

 

 

5. Additional mortgage payments for your residence, such as horne equity loans 5.
6. Utilities:
6a. E|ectricity, heat, natural gas 6a.
Bb. Water, sewer, garbage collection 6b.
6c. Telephone, cell phone, lnternet, satellite, and 60.
cable services
6d. Other. Specify: 6d.
7. Food and housekeeping supplies 7_
8. Childcare and children's education costs 8.
9. Clothing, iaundry, and dry cleaning 9.
10. Fersonal care products and services 10.
11. Medicai and dental expenses 11.
12. Transportation. include gas, maintenance, bus or train 12.
fare. Do not include car payments
13. Entertainment, ciubs, recreation, newspapers, 13.
magazines, and books
14. Charitable contributions and religious donations 14.
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a Life insurance 15a.
15b. Heaith insurance 15b.
15c. Vehicle insurance 150.
15d. Other insurance Specify: 15d,
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16.
17. installment or lease payments:
17a. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.
17c. Other. Specify: 17c.
17d. Other. Specify: 17d.
18. Your payments of alimony, maintenance, and support that you did not report as 18.
deducted from your pay on line 5, Schedule |, Your income (Offlciai Form 106i).
19. Other payments you make to support others who do not live with you.
Specify: 19.
Official Form 106.i Schedule J: Your Expenses

$100.00

$400.00

$10.00

$50.00

$10.00

$236.00

page 2

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 36 of 58

Debtor1 Yisel Manso

20.

21.

22.

23.

24.

 

Other real property expenses not included in lines 4 or 5 of this form or on
Schedule i: Your income.

Case number (if known)

 

 

 

 

 

 

 

 

 

 

20al i\/lortgages on other property 20a.
20b. Real estate taxes 20b.
20c. Property, homeowner's, or renter's insurance 20c.
20d. i\/laintenance, repair, and upkeep expenses 20d.
20e, Homeowner‘s association or condominium dues 20e.
Other. Specify: 21. +
Calcu|ate your monthly expenses.
22a. Add lines 4 through 21. 22a $1,206.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. 22b.
220. Add line 22a and 22b. The result is your monthly expensesl 22c. $1 206_00
Calcuiate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule l. 23a. $1 159_()0
23b. Copy your monthly expenses from line 220 above. 23b. _ $1,206.00
230. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 230. -…
Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
payment to increase or decrease because of a modification to the terms of your mortgage?
|Z] No.
|:| YSS_ Explain here:

None.
Official Form 106J Schedule J: Your Expenses page 3

 

 

 

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iii fitsil§r'~i£=ihiafi<`>`_ifq"idéifliffjv.y.¢ur case '

Debtor1 ‘(isel Manso
First Name Middle Name Last Name

Debtor 2
(Spouse, if iiiing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF FLOR|DA

€fa:reor\;vunr;iber |:] Check if this is an
amended filing

 

 

 

Ofncial Form 106Sum
Summary of Your Assets and Liabiiities and Certain Statistical information 12/15

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. if you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

Your assets
Vaiue of What you own

1. Schedule A/B: Property (Ofncia| Form 106/-\/B)

 

1a. Copy line 55, Totai real estate, from Schedule A/B ................................................................................................... $0'00
1b. Copy line 62, Totai personal property, from Schedule A/B ........................................................................................ $13’288~00
1c. Copy line 63, Totai of all property on Schedule A/B ................................................................................................. _M

 

 

 

 

_ Summarize Your Liabiiities

Your liabilities
Amount you owe

2. Schedule D.' Creditors Who Have Claims Secured by Property (thcial Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part1 of Schedule D ..... $231701'00
3. Schedule E/F.' Creditors Who Have Unsecured Claims (thcial Form 106E/F)
3a Copy the total claims from Part 1 (priority unsecured claims) from line 69 of Schedule E/F ..................................... $0'00
3b, Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ............................. + $30»313~00
Your total liabilities $541°14-00
m Summarize Your income and Expenses
4. Schedule /,' Your/ncome (Official Form 106l)
Copy your combined monthly income from line 12 of Schedule l ...................................................................................... $1’159~00
5. Schedule J.' Your Expenses (Ofticial Form 106J)
$1,206.00

Copy your monthly expenses from line 220 of Schedule .) ................................................................................................

Offlcial Form 1063um Summary of Your Assets and Liabiiities and Certain Statisticai information page 1

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 38 of 58

Debtor1 Yisel Manso Case number (if known)

Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

m No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

M Yes

7. What kind of debt do you have?
|Z[ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a persona|,
family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

[:] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from

crucial Form 122A-1 Line 11; oR, Form 1223 Line 11;'0R, Form 1220-1 Line 14. $1,059-00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $0-00
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $0-00
90_ Claims for death or personal injury while you were intoxicated (Copy line 6c.) $0'00
Qd. student loans (copy line ef.) $0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $0'00

priority claims. (Copy line 69.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $0'00
Qg, Total. Add lines 93 through Qf. $0.00

 

 

 

Officia| Form 1068um Summary of Your Assets and Liabiiities and Certain Statistical lnformation page 2

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Debtor 1 Yisel
First Name Middle Name Last Name

Debtor 2
(Spouse, if tillng) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: SOUTHERN DlSTRlCT OF FLOR|DA

%)faksreolcvunr;ber [] Check if this is an
amended filing

 

 

 

Officlal Form 106Dec
Declaration About an lndividual Debtor's Schedules 12/15

m C m m

 

lf two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

M No
|:] Yes. Name of person Attach Bankruptcy Petition Preparer's Notice,
Dec/aration, and Signature (Official Form 119).

 

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and that they are
true and correct.

 

 

X IsIYisel Manso X
Yisel l\/lanso, Debtor1 Signature of Debtor 2
sale 04/25/2019 Daf€ __
lVll\/l / DD /YYYY MM / DD /YYYY

Official Form 106Dec Declaration About an lndividual Debtor's Schedu|es page 1

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 40 of 58

Debtor1

 

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF FLOR|DA

Case number
(if known)

 

|:| Check if this is an
amended filing

 

 

Official Form 107

Statement of Financial Affairs for lndividua|s Filing for Bankruptcy 04/19

   

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying
correct information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question. `

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?
|:] Married
121 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNO

l:| Yes. List all of the places you lived irl the last 3 years. Do not include where you live now.

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
(Commum`ty property states and territories include Arizona, California, idahol Louisiana, Nevada, New l\/lexico, Puerto Rico, Texas,
Washington, and Wisconsin.)

|_V_[No

|:| Yes. l\/lake sure you fill out Schedule H.' Your Codebtors (Official Form 106H).

Official Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 1

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 41 of 58

Debtor1 Yisel Manso

 

 

Explain the Sources of Your lncome

Case number (if known)

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part‘time activities
lf you are Hling a joint case and you have income that you receive together, list it only once under Debtor1.

[]No

M Yes. Fill in the details.

From January 1 of the current year until
the date you filed for bankruptcy:

For the last calendar year:

(January1 to December31, 2018 )
YYYY

For the calendar year before that:

(January1 to December 31, 2017 )
YYYY

5. Did you receive any other income during this year or the two previous calendar years?

 

 

 

 

Sources of income
Check all that apply.

|Z]Wages, commissions,
bonuses, tips

|:] Operating a business

[:| Wages, commissions,
bonuses, tips

m Operating a business

g Wages, commissions
bonuses, tips

m Operating a business

Gross income
(before deductions
and exclusions

$673.00

$0.00

$0.00

Sources of income Gross income
Check all that apply. (before deductions
and exclusions

|:| Wages, commissions,
bonuses, tips

l:| Operating a business

[:| Wages, commissions,
bonuses, tips

m Operating a business

m Wagesl commissions,
bonuses, tips

[:] Operating a business

include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Sociai Security;
unemployment and other public benefit payments; pensions; rental income; interest; dlvidends; money collected from lawsuits; royalties;
and gambling and lottery winnings. lf you are in a joint case and you have income that you received together, list it only once under

Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

MNO

|:| Yes. Fill in the details.

Official Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 2

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 42 of 58

Debtor 1 Yisel Manso Case number (if known)

 

 

‘ List Certain Payments You Made Before You Filed for Bankruptcy
5. Are either Debtor1's or Debtor 2's debts primarily consumer debts?

m No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
"incurred by an individual primarily for a personal, family, or household purpose."

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
m No. Go to line 7.

m Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. A|so, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment

lz[ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?
|Z[ No. Go to line 7.

m Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and alimony.
Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
/ns/'ders include your reiatives; any general partners; relatives of any general partners; partnerships Of Which you are a general partner;
corporations of which you are an ofhcer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations
such as child support and alimony.

MNO

m Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?
include payments on debts guaranteed or cosigned by an insider.

MNO

\:| Yes. List ali payments that benefited an insider.

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 43 of 58

Debtor1 Yisel Manso Case number (if known)

 

identify Legal Actions, Repossessions, and Foreclosures

 

 

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications and contract disputes

MNO

|:] Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
seized, or levied?
Check all that apply and fill in the details below.

|Z[ No. Go to line 11.
1:| Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
amounts from your accounts or refuse to make a payment because you owed a debt?

MNo

[:| Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

EZ[ No
|'_'] Yes

m List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNo

|:] Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
to any charity?

MNo

m Yes. Fill in the details for each gift or contribution

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
other disaster, or gambling?

MNo

|:] Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

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Debtor1

Yisei Manso

 

 

List Certain Payments or Transfers

Case number (if known)

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

lnclude any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy

m No
|Z[ Yes. Fill in the details.

Law Office of Gisse||e C. Rosario, P.A.

Person Who Was Paid
3182 W. 76th Street

Number Street

 

Hialeah FL 33014

 

City State ZlP Code

gisselle@rosario|aw.net

 

Email or website address

 

Person Who Made the Payment, if Not You

Law Office of Gisselie C. Rosario, P.A.

 

Person Who Was Paid

3182 W. 76th Street
Number Street

 

33014
zll= code

Hialeah FL
City State

gisselle@rosariolaw.net

 

Emai| or website address

 

Person Who |Vlade the Payment, if Not \'ou

Description and value of any property transferred

Description and value of any property transferred

 

 

Date payment Amount of
or transfer was payment
made

2/9l2018 $50.00

3/23/2018 $1,450.00
Date payment Amount of
or transfer was payment
made

4I4/2019 $368.00

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transferthat you listed on line 16.

MNO

l:] Yes. Fill in the details.

Official Form 107

Statement of Financial Affairs for lndividuals Filing for Bankruptcy

page 5

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Debtor 1 Yisel Manso Case number (if known)

18.

19.

 

Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
property transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property),
Do not include gifts and transfers that you have already listed on this statement

MNO

m Yes. Fill in the details

Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device ofwhich
you are a beneficiary? (These are often calied asset-protection devices.)

MNo

|'_'| YeS, Fill in the details

List Certain Financial Accounts, |nstruments, Safe Deposit Boxes, and Storage Units

20.

21.

22.

 

Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, closed, sold, moved, or transferred'?

include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

|z[ No
|:| Yes. Fill in the details

Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
for securities, cash, or other valuables?

lz[ No
m Yes. Fill in the details.

Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

MNO

|:] Yes. Fill in the detaiis.

identify Property You Hold or Controi for Someone Else

23.

 

Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

MNO

|:] Yes, Fill in the details.

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 46 of 58

Debtor1 Yisel Manso Case number (if known)

Give Details About Environmental information

   

Part 10:
For the purpose of Part 10, the following definitions apply:

l Environmental law means any federal, state, or local statute or regulation concerning poliution, contamination, releases of
hazardous or toxic suhstance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

l Site means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
|aw?

M No
|:] Yes. Fill in the detai|s.

25. Have you notified any governmental unit of any release of hazardous materia|?

MNo

m Yes. Fill in the details

26. Have you been a party in any judicial or administrative proceeding under any environmental |aw? include settlements and
orders.

|ZI No
m Yes. Fill in the details

Give Details About Your Business or Connections to Any Business

 

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

m A sole proprietor or self-employed in a trade, profession, or other aciivity, either full-time or part-time
|'_'] A member of a limited liability company (l_i_C) or limited liabiiity partnership (LLP)

m A partner in a partnership

m An officer, director, or managing executive of a corporation

m An owner of at least 5% of the voting or equity securities of a corporation

|Zi No. None of the above applies Go to Part12.
m Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include
all financial institutions, creditors, or other parties.

|___]No

|:l Yes. Fill in the details below.

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 47 of 58

Debtor1 Yisel Manso Case number (if known)

 

Sign Below

 

 

i have read the answers on this Statement ofFinanciaI Affairs and any attachments, and | declare under penalty of perjury
that answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

X lleisel Manso X
Yisel l\/lanso, Debtor1 Signature of Debtor 2
Date 04/25/2019 Date

Did you attach additional pages to Your Statement of Financial Affairs forlndividuals Filing for Bankruptcy(Official Form 107)?

M No

|:] Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

|z[ No

m Yes. Name of person Attach the Bankruptcy Petit/'on Preparer's Notice,

 

Dec/aration, and Signature (Ol"ficia| Form 119).

Official Form 107 ~ ~ Statement of Financial Affairs for individuals Filing for Bankruptcy - page 8

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f'i""'fi?¥,ihi`é mandateY'i'ééviifif§¢

   

 
    
 
 
 

Debtor 1 Yisel Manso
First Name Middle Name Last Name

   

  
 

Debtor 2
(SpOuSe, if t"lling) First Name Middle Name Lasl Name

 

  
    
 
   

United States Bankruptcy Court for the: SOUTHERN DlSTRlCT OF FLOR|DA

Case number
(if known)

 

['_`| Check if this is an
amended filing

 

Official Form 108
Statement of intention for individuals Filing Und

     

er Chapter 7 12/15
if you are an individual filing under chapter 7, you must fill out this form if:
ll creditors have claims secured by your property, or

ll you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

if two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).

 

List Your Creditors Who Hold Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Officia| Form 106D)l
fill in the information below.

identify the creditor and the property that is collateral What do you intend to do with the Did you claim the property
property that secures a debt? as exempt on Schedule C?
Creditor's Weils Fargo Deaier Services l:| Surrender the property. |Z[ No
namel [:| Retain the property and redeem it. [:l Yes
Description of 2012 Toyota Tundra l:.l Retai" the property and enter into a
Reaflirmat/'on Agreement.
property _
Securing debt |Z[ Retain the property and [explaln]:

Debtor will continue making payments to creditor without
reaffirming.

m List Your Unexpired Persona| Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1OGG),
fill in the information below. Do not list real estate ieases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will this lease be assumed?

None.

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

Case 19-15611-A.]C Doc 1 Filed 04/29/19 Page 49 of 58

Debtor 1 Yisel Manso Case number (if known)

Sign Below

 

Under penalty of perjury, l declare thatl have indicated my intention about any property of my estate that secures a debt and
personal property that is subject to an unexpired |ease.

 

 

X /sIYisel Manso X
Yisel |Vlanso, Debtor1 Signature of Debtor 2
Date 04/25/2019 Date
l\/|t\/l / DD / YYYY MM / DD /YYYY

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

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Notice Required by 11 U.S.C. § 342(b) for

individuals Filing for Bankruptcy (Form 2010)

 

 

 

This notice is for you if:

0 You are an individual filing for bankruptcy,
and

0 Your debts are primarily consumer debts.
Consumer debts are denned in 11 U.S.C. § 101(8)
as "incurred by an individual primarily for a
personal, family, or household purpose."

 

 

 

The types of bankruptcy that are available
to individuals

individuals who meet the quaiihcations may file under one
of four different chapters of the Bankruptcy Code:

0 Chapter 7 -- Liquidation
¢ Chapter 11 -- Reorganization

0 Chapter 12 -- Vo|untary repayment plan for family
farmers or fishermen

0 Chapter 13 -- Vo|untary repayment plan for
individuals with regular income

You should have an attorney review your
decision to file for bankruptcy and the choice
of chapter.

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

Chapter 7: Liquidation

 

$245 filing fee
$75 administrative fee
+ $15 trustee surcharge

$335 total fee

 

Chapter 7 is for individuals who have financial difficulty
preventing them from paying their debts and who are
willing to allow their non-exempt property to be used to
pay their creditors The primary purpose of filing under
chapter 7 is to have your debts discharged The
bankruptcy discharge relieves you after bankruptcy from
having to pay many of your pre-bankruptcy debts.
Exceptions exist for particular debts, and liens on
property may still be enforced after discharge For
example, a creditor may have the right to foreclose a
home mortgage or repossess an automobile

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your discharge

You should know that the even if you file chapter 7 and
you receive a discharge, some debts are not discharged
under the law. Therefore, you may still be responsible to

Payi

3 most taxes;
0 most student loans;

0 domestic support and property settlement obligations;

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0 most Hnes, penalties forfeitures and criminal
restitution obligations; and

0 certain debts that are not listed in your bankruptcy
papers

You may also be required to pay debts arising from:

0 fraud or theft;

0 fraud or defalcation while acting in breach of fiduciary
capacity;

0 intentional injuries that you inflicted; and

0 death or personal injury caused by operating a motor
vehiclel vessel, or aircraft while intoxicated from
alcohol or drugs.

if your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount. You
must file Chapter 7 Statement of Your Current Monthly
lncome (Official Form 122A-1) if you are an individual filing
for bankruptcy under chapter 7. This form will determine
your current monthly income and compare Whether your
income is more than the median income that applies in
your state.

if your income is not above the median for your state,
you Will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calcuiation (Official Form
122A-2).

if your income is above the median for your state, you must
file a second form--the Chapter 7 Means Test Calcuiation
(Official Form 122A-2). The calculations on the form--
sometimes called the Means Test-- deduct from your
income living expenses and payments on certain debts to
determine any amount available to pay unsecured
creditors. if your income is more than the median income

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

for your state of residence and family size, depending

on the results of the Means Test, the U.S. trustee,
bankruptcy administrator, or creditors can file a motion to
dismiss your case under § 707(b) of the Bankruptcy
Code. if a motion is filed, the court Will decide if your
case should be dismissed To avoid dismissa|, you may
choose to proceed under another chapter of the
Bankruptcy Code.

lf you are an individual filing for chapter 7 bankruptcy, the
trustee may sell your property to pay your debts subject
to your right to exempt the property or a portion of the
proceeds from the sale of the property, The property,
and the proceeds from property that your bankruptcy
trustee sells or liquidates that you are entitled to, is
called exempt property Exemptions may enable you to
keep your home, a car, clothing, and household items or
to receive some of the proceeds if the property is sold.

Exemptions are not automatic To exempt property, you
must list it on Schedule C.' The Property You Claim as
Exempt (Official Form 1060). if you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors

 

Chapter 11: Reorganization

 

 

$1,167 filing fee
_,. $550 administrative fee
$1,717 total fee

Chapter 11 is often used for reorganizing a business but
is also available to individuals The provisions of chapter
11 are too complicated to summarize briefly.

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Because bankruptcy can have serious long-term financial and legal consequences including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
On|y an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. if you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your famiiy, your home, and your possessions.

Aithough the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. if you file without an attorney, you are still responsible for
knowing and following all of the legal requirements

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Under chapter 13, you must file With the court a plan to

Chapter 125 Repayment plan for family farmers repay your creditors ali or part of the money that you owe
or fishermen them, usually using your future earnings if the court

approves your plan, the court Will allow you to repay your

debts, as adjusted by the planl within 3 years or 5 years,

$200 filing fee depending on your income and other factors

' + $75 administrative fee ' ' ' ‘

$275 total fee

 

 

After you make all the payments under your planl many
of your debts are discharged The debts that are not

Similar to chapter 13, chapter 12 permits family farmers dlscharged and that you may SU" be respons'ble to pay

and fishermen to repay their debts over a period of time mc|ude;
using future earnings and to discharge some debts that
are not paid ¢ domestic support obligations

0 most student loans,

 

0 .
Chapter 13: Repayment plan for individuals with Certam taxes’

regular income 0 debts for fraud or theft,

 

0 debts for fraud or defalcation While acting in a

$235 ming fee fiduciary capacity,

+ $75 administrative fee
$310 total fee

0 most criminal fines and restitution obligations

 

¢ certain debts that are not listed in your bankruptcy

Chapter 13 is for individuals Who have regular income papers’

and would like to pay ali or part of their debts in
installments over a period of time and to discharge
some debts that are not paid You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

0 certain debts for acts that caused death or personal
injuryl and

0 certain long-term secured debts

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010) page 3

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Warning: File Your Forms on Time

Section 521 (a)(1) of the Bankruptcy Code requires
that you promptly file detailed information about
your creditors assets liabilities income, expenses
and general financial condition. The court may
dismiss your bankruptcy case if you do not file this
information Within the deadlines set by the
Bankruptcy Code, the Bankruptcy Rules and local
rules of the court.

For more information about the documents and
their deadlines go to:

http://wWW.uscourts.gov/bkform s/bankruptcy__forms
.html#procedure.

 

 

 

 

Bankruptcy crimes have serious
consequences

0 lf you knowingly and fraudulently conceal assets or
make a false oath or statement under penalty of
perjury--either orally or in Writing--in connection With
a bankruptcy case, you may be fined, imprisoned or
both.

0 All information you supply in connection With a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S. Department
of Justice.

Make sure the court has your mailing
address

The bankruptcy court sends notices to the mailing address

you list on Voluntary Peti'tion for Indivi`duals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Ru|e 4002
requires that you notify the court of any changes in your
address.

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case together--
called a joint case. lf you file a joint case and each
spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally Will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies

Understand which services you could
receive from credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency, 11 U.S.C. § 109(h). lt you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions you must receive it Within the 180
days before you Hle your bankruptcy petition. This
briefing is usually conducted by telephone or on the
lnternet.

ln addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. lf you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:

http://justice.gov/ust/ec/hapcpa/ccde/cc_approved.htrnl.

 

ln Alabama and North Carolina, go to:

http://WWW. uscourts.gov/FederalCourts/Bankruptcy/Bankru
ptcyResources/ApprovedCreditAndDethounselors.aspx.

 

 

lf you do not have access to a computer, the clerk of the
bankruptcy court may be able to help you obtain the list.

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UN|TED STATES BANKRUPTCY COURT
SOUTHERN DlSTRlCT OF FLORlDA
MlAMl DlVlSlON

lN RE: Yisel Manso CASE NO

CHAPTER 7

VERIF|CAT|ON OF CREDITOR MATR|X

 

The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge

Date 4/25/2019 Signature IleiselManso
YiseIManso

Date Sig nature

 

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Aes/wllsfrgo

Attn: Bankruptcy

PO BOX 2461
Harrisburg, PA 17105

Best Buy/cbna
Centralized Bankruptcy
POB 6500

SiOuX Falls, SD 57117

Cavalry Portfolio Services
ATTN: Bankruptcy Department
500 Summit Lake Ste 400
Valhalla, NY 10595

Chase Card Services
Attn: Bankruptcy

PO Box 15298
Wilmington, DE 19850

Citibank

Attn: Recovery/Centralized Bankruptcy
PO Box 790034

St Louis, MO 63179

Citibank/The Home Depot

Attn: Recovery/Centralized Bankruptcy
PO Box 790034

St Louis, MO 63179

Clarence L. Carvajal
26415 Woodward Ave
Moffat, CO 81143

Comenity/Alphaeoncos
Attn: Bankruptcy Dept
PO Box 182125
Columbus, OH 43218

Conduent/Aelma
Attn: Claims Dept
PO BOX 7051
Utica, NY 13504

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Deptartment Store National Bank/Macy's
Attn: Bankruptcy

9111 Duke Boulevard

Mason, OH 45040

FedLoan Servicing
Attn: Bankruptcy

PO Box 69184
Harrisburg, PA 17106

Midland Funding
2365 Northside Dr Ste 300
San Diego, CA 92108

Syncb/Rooms To Go
Attn: Bankruptcy
PO Box 965060

Orlando, FL 32896

Synchrony Bank/Amazon
Attn: Bankruptcy

PO Box 965060
Orlando, FL 32896

Synchrony Bank/BRMart
Attn: Bankruptcy

PO Box 965004
Orlando, FL 32896

Synchrony Bank/Care Credit
Attn: Bankruptcy Dept

PO Box 965060

Orlando, FL 32896

Synchrony Bank/Lowes
Attn: Bankruptcy
PO Box 965060
Orlando, FL 32896

Synchrony Bank/Yamaha
Attn: Bankruptcy Dept
PO Box 965060

Orlando, FL 32896

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Wells Fargo Bank
Attn: Bankruptcy

PO Box 10438

Des Moines, IA 50306

Wells Fargo Dealer Services
Attn: Bankruptcy

PO BOX 19657

Irvine, CA 92623

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Debtor(s): Yisel Manso

Aes/wllsfrgo
Attn: Bankruptcy
PO Box 2461

Harrisburq, PA 17105

Best Buy/cbna
Centralized Bankruptcy
POB 6500

Sioux Falls, SD 57117

Cavalry Portfolio Services
ATTN: Bankruptcy Department
500 Summit Lake Ste 400
Valhalla, NY 10595

Chase Card Services
Attn: Bankruptcy
PO Box 15298

Wilmington, DE 19850

Citibank

Attn: Recovery/Centralized Bank
PO Box 790034

St Louis, MO 63179

Citibank/The Home Depot

Attn: Recovery/Centralized Bank
PO Box 790034

St Louis, MO 63179

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26415 Woodward Ave
Moffat, CO 81143

Comenity/Alphaeoncos
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PO Box 182125
Columbus, OH 43218

Conduent/Aelma
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PO BOX 7051
Utica, NY 13504

Deptartment Store National Bank
Attn: Bankruptcy

9111 Duke Boulevard

Mason, OH 45040

Case No:
Chapter: 7

FedLoan Servicing
Attn: Bankruptcy
PO Box 69184

Harrisburg, PA 17106

Midland Funding
2365 Northside Dr Ste 300
San Diego, CA 92108

Syncb/Rooms To GO
Attn: Bankruptcy
PO Box 965060

Orlando, FL 32896

Synchrony Bank/Amazon
Attn: Bankruptcy

PO Box 965060
Orlando, FL 32896

Synchrony Bank/BRMart
Attn: Bankruptcy

PO Box 965004
Orlando, FL 32896

Synchrony Bank/Care Credit
Attn: Bankruptcy Dept

PO Box 965060

Orlando, FL 32896

Synchrony Bank/Lowes
Attn: Bankruptcy
PO Box 965060
Orlando, FL 32896

Synchrony Bank/Yamaha
Attn: Bankruptcy Dept
PO Box 965060

Orlando, FL 32896

Wells Fargo Bank
Attn: Bankruptcy
PO Box 10438

Des Moines, IA 50306

Wells Fargo Dealer Services
Attn: Bankruptcy
PO Box 19657

Irvine, CA 92623

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SOUTHERN DlSTRlCT OF FLOR|DA
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